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                                                                FILED
                                                         U.S. DJSTFflCI COURT
                                                           SAVANN!\H DV.
               IN THE UNITED STATES DISTRICT COURT FOR
                  THE SOUTHERN DISTRICT OF GEORGIA 2OI2SEP 17 MiIl:3f
                          SAVANNAH DIVISION
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UNITED STATES OF AMERICA                                    SO(Dj. OF GA.

bw                                          CASE NO. CR412-86

SABRINA SESBERRY,

        Defendant.


                                ORDER

        Before the Court is the Government's "Motion to

Approve Consent Order of Forfeiture." (Doc. 223.) The

Government seeks a consent order of forfeiture that sets

forth a personal money judgment and forfeiture of real and

personal property against Defendant. (Doc. 223-1 at 1.)

However, the Government has not moved for, and the Court

has not issued, a preliminary order of forfeiture in this

case. It is the duty of this Court "as soon as practical

after a plea of guilty . . . [to] determine what property

is subject to forfeiture under the applicable statute."

Fed. R. Crim. P. 32.2(b) (1) (A). Accordingly, pursuant to

Federal Rule of Criminal Procedure 32.2(b) (2) (A), the Court

"must promptly enter a preliminary order of forfeiture

setting forth the amount of any money judgment, directing

the forfeiture of specific property, and directing the

forfeiture of any substitute property if the government has
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met the statutory criteria."             Although an ancillary

proceeding is not required unless a third party files a

petition asserting an interest in the property to be

forfeited, Fed. R. Crim. P. 32.2(c) (1), a preliminary order

of forfeiture is still required. Indeed, the fact that

forfeiture has been consented to by the Government and

Defendant is of no consequence because it may later be

determined that there are third parties with interest in

the property. Because there is no preliminary order ot

forfeiture in this case, it would be improper for the Court

to enter a consent order of forfeiture at this time.

Accordingly, the Government's motion is DENIED.

     SO ORDERED this /? .-day of September 2012.




                                 WILLIAM T. I1OORE, JP
                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF GEORGIA




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